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AO450 (NVD Rev. 2/18) Judgment in a Civil Case




                                  UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEVADA


UNITED STATES,
                                                       JUDGMENT IN A CIVIL CASE
                             Plaintiff,
         v.                                            Case Number: 3:17-CR-00073-RCJ-WGC
                                                                    3:20-CV-00063-RCJ
THOMAS M. BIDEGARY

                             Defendants.


         Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and
         the jury has rendered its verdict.

         Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
         or heard and a decision has been rendered.

X        Decision by Court. This action came for consideration before the Court. The issues have been
         considered and a decision has been rendered.

      IT IS ORDERED AND ADJUDGED that Defendant’s Motion to Vacate, Set Aside, or Correct
Sentence (ECF No. 42) is denied.

         It is further ordered that no certificate of appealability shall issue.

       It is further ordered that the Clerk shall enter this separate and final judgment under Federal
Rule of Civil Procedure 58(a) as directed by Kingsbury v. United States, 900 F. 3d 1147 (9th Cir. 2018).

       It is further ordered that Defendant’s Motion for Appointment of Counsel (ECF No. 43) is
denied as moot.




                    7/9/2020
